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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
   REPUBLICAN NATIONAL
   COMMITTEE, JORDAN JORRITSMA,
   and EMERSON SILVERNAIL,
          Plaintiffs,                                RESPONSE IN OPPOSITION
                                                     TO INTERVENTION MOTION
   v.
   JOCELYN BENSON, in her official capacity          Case No. 1:24-cv-00262
   as Michigan Secretary of State; JONATHAN
   BRATER, in his official capacity as Director of
   the Michigan Bureau of Elections,
          Defendants.

                                     INTRODUCTION

         Just two years ago, this Court denied a nearly identical intervention motion filed

  in a similar NVRA case. See Pub. Int. Legal Found. v. Benson, No. 1:21-cv-929, 2022 WL

  21295936, at *10-13 (W.D. Mich. Aug. 25, 2022) (Beckering, J.). The State defended

  that case through summary judgment, where it recently won without the intervenors’

  help. See 2024 WL 1128565 (W.D. Mich. Mar. 1, 2024). The State has shown its

  willingness and ability to litigate NVRA lawsuits without additional help and to
  adequately represent the interests of the proposed intervenors. In fact, the Michigan

  Alliance for Retired Americans, one of the proposed intervenors here, was a part of

  that earlier failed intervention attempt. The Court should deny this intervention motion,

  too.

         As this Court’s earlier intervention order recognized, the proposed intervenors

  have no right to help the State litigate this case. To start, they have not shown a legally
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  protectable interest in this matter. Their concern is that if Plaintiffs prove that Michigan

  is violating the NVRA, then the remedy for that violation might illegally sweep in eligible

  voters. But that interest is premature and hypothetical—nothing about this case,

  Plaintiffs’ requested relief, or enforcement of the NVRA will result in eligible voters

  being improperly removed from the rolls. In any event, those interests are adequately

  represented by the state defendants. And the proposed intervenors have no evidence
  that the State’s representation will be deficient or that the defendants will otherwise fail

  to litigate this case effectively.

         Intervention will also impose substantial costs on the parties while providing no

  benefit to the Court. Adding three new parties will encumber scheduling, increase the

  costs of litigation, and slow down proceedings. In the midst of election season, those

  setbacks are substantial. And the proposed intervenors will bring nothing new to the

  table—they have identified no arguments or positions they would take that the State

  would be unwilling to press. Their participation is at best superfluous. More likely, it

  will increase burdens on the parties and the Court.

         This Court made all of these points when it denied intervention in Public Interest
  Legal Foundation. This case is no different. This Court’s reasoning is also no outlier.

  Federal courts routinely deny intervention to parties attempting to insert themselves

  into NVRA cases. See Green v. Bell, No. 3:21-cv-493, 2023 WL 2572210, at *6-7

  (W.D.N.C. Mar. 20, 2023); Jud. Watch, Inc. v. Griswold, No. 1:20-cv-2992, 2021 WL

  4272719, at *5 (D. Colo. Sept. 20, 2021); Common Cause Ind. v. Lawson, No. 1:17-cv-3936,

  2018 WL 1070472, at *6 (S.D. Ind. Feb. 27, 2018); Jud. Watch, Inc. v. King, No. 1:12-cv-

  800, 2013 WL 12290842, at *2 (S.D. Ind. Mar. 20, 2013); United States v. Florida, No.


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  4:12-cv-285, 2012 WL 13034013, at *3 (N.D. Fla. Nov. 6, 2012); Arcia v. Detzner, No.

  1:12-cv-22282, 2012 WL 12844562, at *3 (S.D. Fla. Sept. 28, 2012). The proposed

  intervenors here have no better showing, and the Court should deny the motion.

                                 CONCISE STATEMENT

         The Court should deny the motion because the proposed intervenors do not

  meet the standards for intervention under Federal Rule of Civil Procedure 24.

                                        ARGUMENT
   I.    The proposed intervenors do not have a right to intervene in this case.

         To intervene as of right under Rule 24(a)(2), the proposed intervenors must file

  a timely motion that shows: (1) they have a substantial legal interest in this case; (2) their

  ability to protect that interest will be impaired without intervention; and (3) their interest

  is not adequately represented by existing parties to the litigation. Blount-Hill v. Zelman,

  636 F.3d 278, 283 (6th Cir. 2011). “Each of these elements is mandatory, and therefore

  failure to satisfy any one of the elements will defeat intervention under the Rule.” Id.

         A.     The proposed intervenors do not have legally protectable interests
                at stake in this case.
         The proposed intervenors assert two interests in this case, and this Court has
  already rejected both. They claim interests in “ensuring that their members and

  constituents remain on the rolls,” and in “avoiding the need to divert resources to

  protect their members and constituents from unlawful cancellations of registration.”

  Doc. 9, PageID.114-115. In Public Interest Legal Foundation, the Michigan Alliance for

  Retired Americans and other intervenors claimed identical interests in mitigating the

  risk that their “members or constituents may be improperly purged from Michigan’s


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  voter rolls,” and in avoiding the need “to divert resources to minimize the risk that their

  members and constituents will be disenfranchised while the relief is implemented.” Pub.

  Int. Legal Found., 2022 WL 21295936, at *10. This Court rejected those speculative

  interests then, and it should do so again now.

         The proposed intervenors have made no attempt to argue that this Court’s

  decision in Public Interest Legal Foundation was wrong. Nor could they. The intervenors
  must show “a substantial legal interest in the case.” Blount-Hill v. Zelman, 636 F.3d 278,

  283 (6th Cir. 2011). The proposed intervenors describe the interest requirement as

  “expansive,” Doc. 9, PageID.114, but that “does not mean that any articulated interest

  will do.” Wineries of the Old Mission Peninsula Ass’n v. Twp. of Peninsula, 41 F.4th 767, 772

  (6th Cir. 2022) (citation omitted). Rather, “the interest must be significantly protectable

  to rise to the level of substantial.” Id. (cleaned up). Interests that are “speculative” are

  not “substantial.” Pub. Int. Legal Found., 2022 WL 21295936, at *11.

         The proposed intervenors’ sole concern is that this case might lead to a “rushed

  purge process.” Doc. 9, PageID.112. As an initial matter, the proposed intervenors

  don’t have “a substantial legal interest” in keeping ineligible voters on the rolls. Blount-
  Hill, 636 F.3d at 283 (emphasis added). And they don’t claim such an interest. Rather,

  they fear that future relief “might also remove eligible voters.” Doc. 9, PageID.116

  (quoting Bellitto v. Snipes, 935 F.3d 1192, 1198 (11th Cir. 2019)). But that interest is highly

  speculative, and contingent on at least four assumptions. First, it assumes that Plaintiffs

  will prevail in proving that Michigan violated federal law (after motions practice,

  discovery, and potentially a trial). Second, it assumes that the appropriate remedy would

  require Michigan to adopt new procedures (rather than following existing procedures).


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  Third, it assumes a proposed remedy that would require Michigan to adopt unlawful,

  overbroad list-maintenance procedures. And fourth, it presumes that Plaintiffs will

  obtain “rushed” relief before the 2024 election. That the proposed intervenors’

  “speculative” interests are contingent on each of these events means they are not

  “substantial” enough to support intervention. Pub. Int. Legal Found., 2022 WL 21295936,

  at *11.
            Throughout their brief, the proposed intervenors all but admit that their interests

  are contingent. They fear “an elevated risk of erroneous cancellation.” Doc. 9,

  PageID.111. “If Plaintiffs obtain the rushed purge they seek,” the proposed intervenors

  say their constituents may be harmed. Doc. 9, PageID.112 (emphasis added). They

  claim their members are “disproportionately vulnerable,” which “increase[s] a voter’s

  risk of wrongful removal” and means their fears are “statistically” supported. Doc. 9,

  PageID.112. And the Hail Mary pass: “the Alliance’s sheer size gives it a rightful stake

  in this case.” Doc. 9, PageID.112. All of these claims are just concessions that their

  interests are speculative.

            The proposed intervenors point out that the NVRA gives them a right to
  challenge the “improper removal of eligible voters,” Doc. 9, PageID.115, but that only

  proves that their interests are more appropriately asserted as plaintiffs in other lawsuits

  that are not yet ripe. This lawsuit does not ask the State to remove eligible voters who

  are properly included on the registration lists. To the extent the proposed intervenors

  have a right to challenge the improper removal of voters, they can litigate that right

  once it is “aggrieved by a violation of [the NVRA].” 52 U.S.C. §20510. But their interests

  in this case are based on nothing but speculation that some amount of voters would be


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  improperly removed. That the proposed intervenors haven’t pointed to a violation,

  haven’t sent the NVRA-required notice letter, and haven’t filed a lawsuit only prove

  that their interests are not ripe.

         That the proposed intervenors spend money pursuing their interests does not

  make those interests any less speculative. Just as plaintiffs “cannot manufacture

  standing merely by inflicting harm on themselves based on their fears of hypothetical
  future harm,” neither can intervening defendants manufacture an interest by spending

  money on speculative claims. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013); see

  Pub. Int. Legal Found., 2022 WL 21295936, at *10 (ruling that the intervenors’ resource

  diversion failed to satisfy even the “expansive notion of the interest sufficient to invoke

  intervention of right”). If the rule were otherwise, every organization would be able to

  satisfy Rule 24 merely by claiming that they will spend money as a result of the

  speculative consequences of a lawsuit. Because the proposed intervenors’ sole

  underlying interest is speculative, whatever money they spend in pursuit of that interest

  is likewise insufficient to support intervention.

         This Court’s prior decision denying intervention in this circumstance is correct.
  The proposed intervenors have provided no reason to depart from that precedent. The

  only case they muster granting intervention as of right in similar circumstances did so

  with little analysis because no party opposed intervention. See Bellitto v. Snipes, No. 16-

  cv-61474, 2016 WL 5118568 (S.D. Fla. Sept. 21, 2016). Instead of that sparse,

  unopposed order, this Court’s detailed reasoning denying intervention should govern.

  This case is about whether Michigan is maintaining its voter registration records in

  compliance with federal law. It has nothing to do with the ancillary efforts of third-


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  party organizations to register voters, regardless of how much money they spend on

  those efforts.

         B.        The proposed intervenors have not shown that the State’s
                   representation will be inadequate.
         Whatever interests the proposed intervenors have in this case will be adequately

  defended by the State. The intervenors “bear the burden of proving that they are

  inadequately represented by a party to the suit.” United States v. Michigan, 424 F.3d 438,

  443 (6th Cir. 2005). And where, as here “the proposed intervenor and party to the suit

  currently share the ‘same ultimate objective’ …, a presumption of adequate

  representation arises.” Wineries of the Old Mission Peninsula, 41 F.4th at 774 (quoting

  Michigan, 424 F.3d at 443-44). Generally, that presumption is overcome by showing

  “collusion … between the representatives and an opposing party,” that the

  representative has “an interest adverse to the proposed intervenor,” or that the

  representative has “failed in its fulfillment of his duty.” Bradley v. Milliken, 828 F.2d 1186,

  1192 (6th Cir. 1987) (citation omitted). Merely “having an interest which is diverse

  from” the existing parties is insufficient to overcome the presumption. Id. at 1193.

         The proposed intervenors suggest that the presumption no longer applies after
  Berger, but that misreads both Berger and a subsequent Sixth Circuit decision. See Doc. 9,

  PageID.120. In Berger, the Supreme Court permitted state legislators to intervene in

  defense of a state law. Berger v. N. Carolina State Conf. of the NAACP, 597 U.S. 179, 196

  (2022). The Court observed that “some lower courts have adopted a presumption of

  adequate representation in cases where a movant’s interests are identical to those of an

  existing party.” Id. It did not criticize that presumption, which held “no purchase” in


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  that case anyway. Id. And that’s not the presumption that applies here, either: the Sixth

  Circuit presumes that representation is adequate when the party and the intervenor

  “share the ‘same ultimate objective.’” Wineries of the Old Mission Peninsula, 41 F.4th at 774.

  If there were any doubt that the presumption is still required here, the Sixth Circuit

  resolved it by applying the presumption of adequate representation even after Berger. See

  id. at 774, 777 (citing Berger, 142 S. Ct. at 2205).
         The proposed intervenors all but admit they share the same ultimate objective as

  the State. Indeed, they admit that the defendants “are likely to defend Michigan’s list

  maintenance practices and oppose relief.” Doc. 9, PageID.119. The proposed

  intervenors quibble that some of their interests might not align perfectly with the

  State’s, but they undoubtedly share the same ultimate objective: dismissal of the suit. See

  Wineries of the Old Mission Peninsula, 41 F.4th at 774 (parties shared the same ultimate

  objective when both were “defending the zoning ordinances”).

         The proposed intervenors fall far short of showing that the State’s representation

  will be inadequate. After all, the State represents the interests of voters. The Secretary is

  the State’s chief election officer, Mich. Comp. Laws §168.21, and the Director of
  Elections must “perform the duties of the secretary of state under his or her

  supervision, with respect to the supervision and administration of the election laws,”

  Id. §168.32. The NVRA charges them with “protecting electoral integrity and the

  maintenance of accurate voter rolls.” Bellitto v. Snipes, 935 F.3d 1192, 1198 (11th Cir.

  2019). “A party charged by law with representing the interests of the absent party will

  usually be deemed adequate.” Del. Valley Citizens’ Council for Clean Air v. Pennsylvania, 674

  F.2d 970, 973 (3d Cir. 1982), cited approvingly in Geier v. Sundquist, 94 F.3d 644 (6th Cir.


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  1996) (table); see Northland Family Planning Clinic, Inc. v. Cox, 487 F.3d 323, 346 (6th Cir.

  2007) (“[A public interest group’s] interest [in intervention] is greatly diminished due to

  the state’s responsibilities in enforcing and defending it as it is written.”).

         The proposed intervenors argue that there is “tension” between the two duties

  imposed by the NVRA, Doc. 9, PageID.119, but that argument proves too much: the

  proposed intervenors admit that the NVRA tasks the State with representing the very
  interests that they claim in this case. The intervenors may prefer that the State ignore

  its duty to “protect[] electoral integrity,” but the fact that the State is charged with that

  duty is hardly evidence that the State’s representation of eligible voters will be

  inadequate. Congress, after all, charged the State with those objectives, understanding

  that it could accomplish both effectively.

         Moreover, the proposed intervenors have no evidence from this case that the

  State’s representation will be inadequate. They claim that the Secretary has resolved

  older cases through settlement. Doc. 9, PageID.119. But that is not evidence that these

  state officials will resolve this case through settlement. Indeed, the Secretary has not

  held back in characterizing this as a “meritless lawsuit.” Jane C. Timm, The Republican
  National Committee Sues Michigan over the State’s Voter Rolls, NBC News (Mar. 13, 2024),

  https://perma.cc/224M-DYM4. There can be little doubt that she will zealously defend

  the State’s position. In any event, Movants would have no right to “block” a settlement,

  even if they intervened. Youngblood v. Dalzell, 804 F.2d 360, 364 (6th Cir. 1986). And the

  state defendants do not object to Movants’ participation in this case, so they remain

  “free to impose conditions” on any settlement negotiations, including by “requiring the




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 presence of [Movants].” United States v. Lexington-Fayette Urban Cty. Gov’t, No. 1: 06-cv-

 386, 2007 WL 2020246, at *3 & n.5 (E.D. Ky. July 6, 2007).

         The cases finding inadequate representation only prove that the proposed

 intervenors come up short here. The presumption may be overcome by showing “that

 the party has ‘interests adverse to the intervener,’” such as when government

 defendants are subject to monetary damages, while the intervenors are not. Wineries of
 the Old Mission Peninsula, 41 F.4th at 774 (quoting Jordan v. Mich. Conf. of Teamsters Welfare

 Fund, 207 F.3d 854, 863 (6th Cir. 2000)). Other courts have recognized inadequate

 representation when the State “fail[s] to appeal the court’s judgment,” and “intervention

 [is] vital to the defense of the law at issue.” Miracle v. Hobbs, 333 F.R.D. 151, 156 (D.

 Ariz. 2019) (citing Horne v. Flores, 557 U.S. 433, 443 (2009)). Others still require the

 intervenor to show collusion between parties or that the defendant has “failed in its

 fulfillment of [its] duty.” Bradley, 828 F.2d at 1192. None of these situations is present

 here.

         Again, this Court should follow its own precedent. See Pub. Int. Legal Found., 2022

 WL 21295936, at *11 (“While the positions of the Proposed Intervenors and Secretary
 Benson may not identically align, their interests are sufficiently overlapping such that

 there is no substantial doubt that their concerns about disenfranchisement are already

 being adequately represented by Michigan’s Secretary of State.”); Green, 2023 WL

 2572210, at *6 (ruling that the proposed intervenors failed to carry even “their ‘minimal’

 burden of showing representational inadequacy”). In short, “[w]hile the Proposed

 Intervenors also claim an interest in ensuring such compliance, there is no reason to




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 conclude that [the Secretary] … is unable to litigate this case in a way that protects that

 interest.” Green, 2023 WL 2572210, at *6.

                                       *     *      *

        This Court’s decision in Public Interest Legal Foundation resolves this motion. The

 proposed intervenors point to only two differences between that case and this one. The

 first is that the Secretary here does not take a position on the motion to intervene, while
 in Public Interest Legal Foundation she opposed the motion. But the Secretary’s position

 on intervention is irrelevant to whether the proposed intervenors have a legal right to

 intervene. To be sure, the Secretary made some of these arguments in Public Interest Legal

 Foundation. This Court recognized that those arguments are correct not because it was

 the Secretary that made them, but because the law requires that conclusion.

        The second distinction the proposed intervenors point to is timeliness: the

 intervenors here filed about a month earlier compared to the attempt in Public Interest

 Legal Foundation. But this Court did not base its denial of the motion in that case on

 timeliness. It simply noted that “the motion to intervene, which was filed while the

 parties were already briefing their motion to dismiss, is arguably untimely.” Pub. Int.
 Legal Found., 2022 WL 21295936, at *11. The Court then went on to explain that the

 intervenors failed the other elements of Rule 24. Id. at *11-12. Those holdings are the

 ones that preclude the motion here.

        Moreover, timeliness only underscores that the request for intervention “is

 premature.” League of Women Voters of Mich. v. Johnson, No. 2:17-cv-14148, 2018 WL

 3861731, at *1 (E.D. Mich. Aug. 14, 2018) (three-judge district court). This case

 resembles United States v. Michigan, where parties tried to intervene “to protect their


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 divergent interests ‘in the event’” the plaintiffs won on liability. 424 F.3d 438, 444 (6th

 Cir. 2005). The movants’ interests, the Sixth Circuit explained, “seem more concerned

 about what will transpire in the future should the district court determine” that the

 plaintiffs are correct on the merits. Id. “While the proposed intervenors may be

 legitimately concerned about these future issues, they are not now, and possibly never

 will be, before the district court.” Id. Intervention would thus “prematurely seek to
 inject [remedial] issues that are not yet before the [district] court,” “complicate the

 case,” and “prejudice[] the original parties.” Id. at 444-45. And to the extent the

 intervenors wanted to make arguments about liability, they “failed to articulate why the

 State of Michigan’s legal representation concerning this issue is inadequate.” Id. at 444.

 So too here.

        At the very least, the Court should simply deny the motion to intervene without

 prejudice, note the proposed intervenors’ remedial concerns, and state that “[s]hould

 the litigation proceed that far, the proposed intervenors may renew their motion.” Id.

 at 446. Until that point, the proposed intervenors have no business litigating this case

 for the State.
  II. The court should deny permissive intervention.

        This Court should also deny permissive intervention. Though Rule 24(b) lists a

 few factors that must be considered, this Court “enjoys very broad discretion” in

 denying permissive intervention and “can consider almost any factor rationally

 relevant.” Daggett v. Comm’n on Governmental Ethics & Election Practices, 172 F.3d 104, 113

 (1st Cir. 1999); accord Michigan, 424 F.3d at 445 (explaining that a district court can

 consider the factors in Rule 24(b) and “any other relevant factors”).


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        This Court should deny permissive intervention for largely the same reasons

 outlined above. As explained, the proposed intervenors’ interests are speculative,

 remote, and already well-represented by the State. “Any delay caused by Applicants'

 intervention,” then, “would be undue.” League of Women Voters of Mich. v. Johnson, No.

 2:17-cv-14148, 2018 WL 3861731, at *2 (E.D. Mich. Aug. 14, 2018) (emphasis added).

 When “intervention as of right is decided based on the government’s adequate
 representation,” as it should be here, “the case for permissive intervention diminishes,

 or disappears entirely.” Me. Republican Party v. Dunlap, No. 1:18-cv-179, 2018 WL

 2248583, at *2 (D. Me. May 16, 2018); see also League of Women Voters of Mich. v. Johnson,

 902 F.3d 572, 579 (6th Cir. 2018) (adequate representation “counsels against granting

 permissive intervention”). Defendants’ adequate representations means that Movants’

 “intervention would simply be piling onto the arguments advanced by the other parties

 to this litigation,” Donald J. Trump for President, Inc. v. Bullock, No. 1:20-cv-66, 2020 WL

 5517169, at *2 (D. Mont. Sept. 14, 2020), and “would result only in the duplication of

 the efforts of the existing Defendants and undue delay of the litigation,” Blount-Hill v.

 Bd. of Educ. of Ohio, 195 F. App’x 482, 487 (6th Cir. 2006).
        The added burden of Movants’ participation here is not small. Because

 “[i]ntervening parties are entitled to all the rights and responsibilities of original parties

 to litigation,” adding the intervenors will increase the costs of litigation, make

 scheduling more cumbersome, and inevitably slow down proceedings. Am. Ass'n of

 People With Disabilities v. Herrera, 257 F.R.D. 236, 259 (D.N.M. 2008); see also Perry v.

 Proposition 8 Off. Proponents, 587 F.3d 947, 955-56 (9th Cir. 2009) (upholding the district

 court’s determination that intervention “might very well delay the proceedings, as each


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 group would need to conduct discovery on substantially similar issues,” which “in all

 probability would consume additional time and resources of both the Court and the

 parties”). Even minor delays are especially problematic in “time sensitive” election cases

 such as this one, where “the general election is fast approaching.” Am. Ass’n of People

 with Disabilities, 257 F.R.D. at 259.

        Again, this Court’s earlier decision is instructive. This Court recognized that
 “[a]dding three more defendants, even if they submit joint filings, realistically portends

 more discovery and more motions, and therefore more time and resources expended

 before a resolution of the important issues in this case can be rendered.” Pub. Int. Legal

 Found., 2022 WL 21295936, at *12; see also Green, 2023 WL 2572210, at *7 (denying

 permissive intervention because the intervenors’ “participation would needlessly

 complicate this litigation, consuming additional resources of the court and the parties,

 without any corresponding benefit” (cleaned up)). Because “timely resolution is critical

 to the integrity of the election process, both its perceived and actual integrity,” the Court

 should deny permissive intervention. Pub. Int. Legal Found., 2022 WL 21295936, at *12.

        And the flood of intervenors will not stop. Just last night, the League of Women
 Voters moved to intervene. See Doc. 12. These extra motions, additional parties, and

 superfluous pleadings will pile on unless the Court affirms that the State can litigate this

 case effectively on its own. Any arguments that the proposed intervenors could provide

 to this Court can be accomplished through amicus briefs. See Pub. Int. Legal Found., 2022

 WL 21295936, at *13 (“The Proposed Intervenors are not precluded from seeking leave

 to file amicus briefs in future dispositive motion briefing by the parties.”).




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                                  CONCLUSION

       For the foregoing reasons, the court should deny the motion to intervene.

                                               Respectfully submitted,

 Dated: April 5, 2024                          /s/ Thomas R. McCarthy

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                        CERTIFICATE OF COMPLIANCE

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 to that software, the word count for this motion is 3,884 words, which complies with

 Local Rule 7.3(b).


                                               /s/ Thomas R. McCarthy
                                               Counsel for Plaintiffs




                           CERTIFICATE OF SERVICE
       I certify that on April 5, 2024, I filed this document via the ECF system, which

 will serve everyone requiring notice.


                                               /s/ Thomas R. McCarthy
                                               Counsel for Plaintiffs




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